                                                                                   Case 2:14-cv-04077-PA-AJW Document 82-2 Filed 06/29/15 Page 1 of 2 Page ID #:6468



                                                                                      1   PAUL L. GALE, Bar No. 065873
                                                                                          paul.gale@troutmansanders.com
                                                                                      2   SIAVASH DANIEL RASHTIAN, Bar No. 228644
                                                                                          daniel.rashtian@troutmansanders.com
                                                                                      3   THOMAS H. PROUTY, Bar No. 238950
                                                                                          thomas.prouty@troutmansanders.com
                                                                                      4   TROUTMAN SANDERS LLP
                                                                                          5 Park Plaza, Suite 1400
                                                                                      5   Irvine, CA 92614-2545
                                                                                          Telephone: 949.622.2700
                                                                                      6   Facsimile: 949.622.2739
                                                                                      7   Attorneys for Plaintiffs
                                                                                          BILL A. BUSBICE, JR., OLLA PRODUCTIONS,
                                                                                      8   LLC, and ECIBSUB, LLC
                                                                                      9                         UNITED STATES DISTRICT COURT
                                                                                     10                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                     11                                 WESTERN DIVISION
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                                                                                     13   BILL A. BUSBICE, JR., an individual;        Case No. CV 14-4077 PA (AJWx)
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                                                                                          OLLA PRODUCTIONS, LLC, a limited            consolidated with CV 14-7063 PA
                                                                                     14   liability company; and ECIBSUB, LLC,        (AJWx)
                                                                                          a limited liability company,
                                                                                     15                                               Magistrate Judge Andrew J. Wistrich
                                                                                                          Plaintiffs,
                                                                                     16
                                                                                                     v.                               [PROPOSED] ORDER
                                                                                     17                                               GRANTING PLAINTIFFS’
                                                                                          JAMES DAVID WILLIAMS, an                    MOTION TO COMPEL AND
                                                                                     18   individual; et al.,                         REQUEST FOR SANCTIONS
                                                                                     19                   Defendants.
                                                                                     20                                               Date:    July 27, 2015
                                                                                          AND RELATED CONSOLIDATED                    Time:    10:00 a.m.
                                                                                     21   ACTION.                                     Place:   Courtroom 690
                                                                                     22                                               Discovery Cut-off: July 27, 2015
                                                                                                                                      Trial Date: October 6, 2015
                                                                                     23
                                                                                     24
                                                                                     25
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                                                                                     28
                                                                                          26240083
                                                                                           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL AND REQUEST FOR SANCTIONS
                                                                                   Case 2:14-cv-04077-PA-AJW Document 82-2 Filed 06/29/15 Page 2 of 2 Page ID #:6469



                                                                                      1              Upon consideration of the Motion to Compel and Request for Sanctions
                                                                                      2   Pursuant to Rule 37 of the Federal Rules of Civil Procedure (“Motion”) brought by
                                                                                      3   Plaintiffs Bill A. Busbice, Jr., Olla Productions, LLC, and Ecibsub, LLC
                                                                                      4   (collectively, “Plaintiffs”), the Court having reviewed the pleadings, papers and
                                                                                      5   declarations submitted by the parties, Plaintiffs’ Motion is hereby GRANTED.
                                                                                      6              IT IS HEREBY ORDERED THAT:
                                                                                      7               1. The answers of Defendants Steven J. Brown (“Brown”); Garuda
                                                                                      8                  Partners, Ltd. (“Garuda”); Highgate Pass, LLC (“Highgate”), Bipartisan
                                                                                      9                  Coalition for American Security Corporation (“Bipartisan”), Moment
                                                                                     10                  Factory, LLC (“Moment Factory”), Luxe One, Inc. (“Luxe One”) and
                                                                                     11                  Legacy Film Crest, LLC (“Legacy”) to Plaintiffs’ Complaint in this
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                                                                                     12                  action are hereby stricken, and their defaults entered;
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                                                                                     13               2. Defendants Brown, Garuda, Highgate, Bipartisan, Moment Factory,
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                                                                                     14                  Luxe One and Legacy, and their counsel, John G. Burgee, Esq. of
                                                                                     15                  Burgee & Abramoff, P.C., are jointly and severally liable for a
                                                                                     16                  monetary sanction of $13,950 payable to Plaintiffs’ counsel;
                                                                                     17               3. Defendant Brown shall provide complete, full and proper responses to
                                                                                     18                  Plaintiffs’ Interrogatories Nos. 1, 3-6, 21-25; and
                                                                                     19               4. Defendants Gerald Seppala (“Seppala”), Visions LLC (“Visions”),
                                                                                     20                  Barry J. Reiss (“Reiss”), Legacy, Moment Factory, Luxe One, Brown,
                                                                                     21                  Garuda, Highgate and Bipartisan are hereby precluded from defending
                                                                                     22                  Plaintiffs’ claims in this action by reference to documents that have not
                                                                                     23                  been produced in this action.
                                                                                     24
                                                                                     25              IT IS SO ORDERED.
                                                                                     26
                                                                                     27   Dated: July ___, 2015_______
                                                                                                                                  HON. ANDREW J. WISTRICH
                                                                                     28                                           United States District Court Magistrate Judge
                                                                                          26240083                                    -1-
                                                                                           [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL AND REQUEST FOR SANCTIONS
